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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:04-cr-00006-MP-AK

JASON GREENE,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 490, Motion to Continue Sentencing Hearing of

Jason Greene, filed by the government, and Doc. 476, Motion to Modify Conditions of Release,

filed by Jason Greene. A teleconference was held on June 22, 2005. As stated during the

hearing, the sentencing is continued and is hereby reset for October 21, 2005 at 10:30 a.m.

Additionally, the condition of electronic monitoring is deleted from the conditions of release, but

the curfew requirement and all other conditions of release remain in full force and effect.


       DONE AND ORDERED this 24th day of June, 2005


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
